                                                                                                                     Case 5:18-cv-06092-NC             Document 1       Filed 10/03/18      Page 1 of 6




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                                                                                                             8

                                                                                                             9                                     UNITED STATES DISTRICT COURT
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                                                                                                            10                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                            11

                                                                                                            12 IZMO, INC.,                                               Case No.

                                                                                                            13                       Plaintiff,
                                                                                                                                                                         COMPLAINT FOR COPYRIGHT
                                                                                                            14             v.                                            INFRINGEMENT AND VIOLATION OF
                                                                                                                                                                         THE DIGITAL MILLENNIUM
                                                                                                            15 ROADSTER, INC.,                                           COPYRIGHT ACT (17 U.S.C. § 1202)

                                                                                                            16                       Defendant.

                                                                                                            17

                                                                                                            18             Plaintiff, by its attorneys, for its Complaint against Defendant, alleges as follows:
                                                                                                            19                                        JURISDICTION AND VENUE
                                                                                                            20             1.        This action arises under the Copyright Act of 1976, 17 U.S.C. § 101 et seq.
                                                                                                            21             2.        This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).
                                                                                                            22             3.        Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and 1400(a).
                                                                                                            23                                       INTRADISTRICT ASSIGNMENT
                                                                                                            24             4.        Pursuant to Civil L.R. 3-2(c) and General Order No. 44, as an Intellectual Property
                                                                                                            25 action this case is properly assigned to any division of this Court, except that pursuant to Civil

                                                                                                            26 L.R. 3-2(g) and 73-1, Plaintiff does not consent to assignment to a Magistrate Judge in the Eureka

                                                                                                            27 Division.

                                                                                                            28
                                                                                                                 12589.004 4837-2701-0931.3
                                                                                                                  COMPLAINT FOR COPYRIGHT INFRINGEMENT AND VIOLATION OF THE DIGITAL MILLENNIUM
                                                                                                                                           COPYRIGHT ACT (17 U.S.C. § 1202)
                                                                                                                     Case 5:18-cv-06092-NC              Document 1        Filed 10/03/18      Page 2 of 6




                                                                                                             1                                                     PARTIES

                                                                                                             2             5.        Plaintiff izmo, Inc. ("Plaintiff") is a Delaware corporation with its principal place of

                                                                                                             3 business in San Francisco, California.

                                                                                                             4             6.        Defendant Roadster, Inc. ("Defendant") is a Delaware corporation with its principal

                                                                                                             5 place of business in San Francisco, California.
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                                                                                                             6                                           FACTUAL ALLEGATIONS

                                                                                                             7             7.        Plaintiff owns a wide collection of photographic images of automobiles and

                                                                                                             8 accessories (the "Images"), which Plaintiff licenses to third parties for their use on their websites

                                                                                                             9 and in their businesses. Potential customers of Plaintiff may purchase licenses from Plaintiff for
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                                                                                                            10 use of the Images for certain regions, media, purposes, and terms of use. The Images are original
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                                                                                                            11 photographs of various vehicles, created by Plaintiff. The Images reflect Plaintiff's decisions

                                                                                                            12 about lighting, shading, angle, and background. They are thus copyrighted works under the

                                                                                                            13 Copyright Act of 1976.

                                                                                                            14             8.        Defendant is a technology company that offers software to vehicle dealerships

                                                                                                            15 around the world for the purpose of researching, buying, and selling cars over the internet. As part

                                                                                                            16 of its business, Defendant displays automotive photographs on its website and allows its

                                                                                                            17 dealership customers to display the same automotive photographs on the customers' websites.

                                                                                                            18             9.        Defendant has copied and used certain of Plaintiff's Images without Plaintiff's

                                                                                                            19 authorization or consent and for commercial purposes. Attached as Exhibit A, and incorporated

                                                                                                            20 as if set forth herein, is a schedule showing eighty (80) Images that were infringed by Defendants

                                                                                                            21 (the "Schedule"). The Schedule contains information on the eighty (80) claims of copyright

                                                                                                            22 information at issue in this action. Each numbered claim has the following seven (7) categories of

                                                                                                            23 information:

                                                                                                            24                       a.       Image: the infringing image taken from Defendant's website;

                                                                                                            25                       b.       URL: the URL from Defendant's website where the specific infringing

                                                                                                            26                                Image was shown;

                                                                                                            27                       c.       Position on page: where the infringing image was placed on Defendant's

                                                                                                            28                                website page;
                                                                                                                 12589.004 4837-2701-0931.3                              2
                                                                                                                  COMPLAINT FOR COPYRIGHT INFRINGEMENT AND VIOLATION OF THE DIGITAL MILLENNIUM
                                                                                                                                           COPYRIGHT ACT (17 U.S.C. § 1202)
                                                                                                                     Case 5:18-cv-06092-NC              Document 1       Filed 10/03/18      Page 3 of 6




                                                                                                             1                       d.       izmo Image: Plaintiff's copyrighted image at issue;

                                                                                                             2                       e.       izmo Image URL: the URL from Plaintiff's website for the particular Image;

                                                                                                             3                                and

                                                                                                             4                       f.       Screen Shot Reference: the date and time when the screen shot showing

                                                                                                             5                                when the infringing use of the Image was taken from Defendant's website.
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                                                                                                             6             10.       On or about April 6, 2018, Plaintiff filed an application with the United States

                                                                                                             7 Copyright Office for registration of the copyrights in each of Plaintiff's Image on the Schedule.

                                                                                                             8             11.       For each Image identified on the Schedule, Plaintiff was the creator and owner of

                                                                                                             9 the Image listed at the "Image" category and the "izmo Image" category.
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                                                                                                            10             12.       For each Image identified on the Schedule, on the date(s) listed at "Screen Shot
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                                                                                                            11 Reference" category, Plaintiff was (and still is) the owner of all rights in the Image.

                                                                                                            12             13.       For each Image identified on the Schedule, Defendant publicly and unlawfully

                                                                                                            13 reproduced and/or displayed Plaintiff's copyrighted Image, without authorization, consent,

                                                                                                            14 permission, license, and/or compensation.

                                                                                                            15             14.       For each Image identified on the Schedule, Defendant removed and/or altered

                                                                                                            16 Plaintiff's original file name, which is the title or other information identifying the work.

                                                                                                            17 Specifically, Defendant altered the original file name given to the Images by Plaintiff by adding a

                                                                                                            18 different file name to each Image.

                                                                                                            19                                              CLAIMS FOR RELIEF

                                                                                                            20                                          FIRST CLAIM FOR RELIEF
                                                                                                                                                      (COPYRIGHT INFRINGEMENT)
                                                                                                            21
                                                                                                                           15.       Plaintiff repeats and realleges every allegation contained in paragraphs 1 through
                                                                                                            22
                                                                                                                 14 as if fully set forth herein.
                                                                                                            23
                                                                                                                           16.       Plaintiff is the owner of a valid copyright in the Images.
                                                                                                            24
                                                                                                                           17.       Without authorization, consent, permission, license, and/or compensation,
                                                                                                            25
                                                                                                                 Defendant publicly and unlawfully reproduced and/or displayed original expression from
                                                                                                            26
                                                                                                                 Plaintiff's copyrighted Images in violation of 17 U.S.C. §§ 106(1), (5), (6), and 501. Thus
                                                                                                            27
                                                                                                                 Defendant has committed copyright infringement.
                                                                                                            28
                                                                                                                 12589.004 4837-2701-0931.3                              3
                                                                                                                  COMPLAINT FOR COPYRIGHT INFRINGEMENT AND VIOLATION OF THE DIGITAL MILLENNIUM
                                                                                                                                           COPYRIGHT ACT (17 U.S.C. § 1202)
                                                                                                                    Case 5:18-cv-06092-NC            Document 1        Filed 10/03/18      Page 4 of 6




                                                                                                             1          18.       Defendant's infringement of Plaintiff's Images includes but it not limited to the list

                                                                                                             2 of copyrighted Images listed in Exhibit A.

                                                                                                             3          19.       Defendant's infringement of Plaintiff's rights in each of its copyrighted works

                                                                                                             4 constitutes a separate and distinct act of infringement.

                                                                                                             5          20.       Defendant's acts of infringement are knowing, willful and intentional, in disregard
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                                                                                                             6 of and indifference to Plaintiff's rights.

                                                                                                             7          21.       As a direct and proximate result of Defendant's infringement of Plaintiff's

                                                                                                             8 copyrights and exclusive rights under copyright, pursuant to 17 U.S.C. § 504(b), Plaintiff is

                                                                                                             9 entitled to its actual damages, including Defendant's profits from the infringement, as will be
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                                                                                                            10 proven at trial.
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                                                                                                            11          22.       Plaintiff is entitled to its costs and reasonable attorneys’ fees pursuant to 17 U.S.C.

                                                                                                            12 § 505.

                                                                                                            13          23.       Plaintiff is further entitled to the impoundment and destruction or other reasonable

                                                                                                            14 disposition of infringing copies of Plaintiff's copyrighted works pursuant to 17 U.S.C. § 503.

                                                                                                            15                              SECOND CLAIM FOR RELIEF
                                                                                                                              (VIOLATION OF THE DIGITAL MILLENNIUM COPYRIGHT ACT
                                                                                                            16                                   (17 U.S.C. § 1202))

                                                                                                            17          24.       Plaintiff repeats and realleges every allegation contained in paragraphs 1 through

                                                                                                            18 23 as if fully set forth herein

                                                                                                            19          25.       Defendant intentionally removed and/or altered the copyright management

                                                                                                            20 information of the Images ("Altered Images") and distributed copyright management information

                                                                                                            21 for the Altered Images with knowledge that the copyright management information had been

                                                                                                            22 removed or altered without authority of the copyright owner or the law, and distributed and

                                                                                                            23 publicly displayed the Altered Images, knowing that copyright management information had been

                                                                                                            24 removed or altered without authority of the copyright owner or the law, and knew, or with respect

                                                                                                            25 to civil remedies under 17 U.S.C. § 1203, had reasonable grounds to know, that the conduct would

                                                                                                            26 induct, enable, facilitate, or conceal an infringement under this title.

                                                                                                            27          26.       Defendant's removal or alteration of copyright management information associated

                                                                                                            28 with Plaintiff's Images includes but it not limited to the list of copyrighted Images listed in
                                                                                                               12589.004 4837-2701-0931.3                          4
                                                                                                                 COMPLAINT FOR COPYRIGHT INFRINGEMENT AND VIOLATION OF THE DIGITAL MILLENNIUM
                                                                                                                                          COPYRIGHT ACT (17 U.S.C. § 1202)
                                                                                                                     Case 5:18-cv-06092-NC              Document 1        Filed 10/03/18       Page 5 of 6




                                                                                                             1 Exhibit A.

                                                                                                             2             27.       Defendant's removal or alteration of copyright management information associated

                                                                                                             3 with each of Plaintiff's Images constitutes a separate and distinct act of violation of this title.

                                                                                                             4             28.       Defendant's acts of removal or alteration of Plaintiff's copyright management

                                                                                                             5 information are knowing, willful and intentional, in disregard of and indifference to Plaintiff's
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                                                                                                             6 rights.

                                                                                                             7             29.       As a direct and proximate result of Defendant's removal or alteration of copyright

                                                                                                             8 management information associated with Plaintiff's Images, pursuant to 17 U.S.C. § 1203,

                                                                                                             9 Plaintiff is entitled to, at its election, actual damages and additional profits of Defendant, as will be
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                                                                                                            10 proven at trial, or statutory damages.
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                                                                                                            11             30.       Plaintiff is entitled to its costs and reasonable attorneys’ fees pursuant to 17 U.S.C.

                                                                                                            12 § 1203(b).

                                                                                                            13             31.       Plaintiff is further entitled to the impoundment and destruction or other reasonable

                                                                                                            14 disposition of infringing copies of Plaintiff's copyrighted work pursuant to 17 U.S.C. § 1203(b).

                                                                                                            15                                             PRAYER FOR RELIEF

                                                                                                            16             WHEREFORE, Plaintiff prays for relief and judgment as follows:

                                                                                                            17             1.        For the impoundment and destruction or other reasonable disposition of infringing

                                                                                                            18 copies of Plaintiff's copyrighted Images;

                                                                                                            19             2.        For an accounting of any and all revenues and profits that Defendant has derived

                                                                                                            20 from its wrongful actions;

                                                                                                            21             3.        For all damages to which Plaintiff may be entitled, including Plaintiff's actual

                                                                                                            22 damages and/or Defendant's profits, in such amounts as may be found, or, in the alternative and at

                                                                                                            23 Plaintiff's election, for statutory damages in the maximum amount allowed by law;

                                                                                                            24             4.        For compensatory damages in such amounts as will be proven at trial;

                                                                                                            25             5.        For the costs of this action and reasonable attorneys' fees; and

                                                                                                            26             6.        For such other and further relief the Court deems just.

                                                                                                            27 / / /

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                                                                                                                 12589.004 4837-2701-0931.3                              5
                                                                                                                  COMPLAINT FOR COPYRIGHT INFRINGEMENT AND VIOLATION OF THE DIGITAL MILLENNIUM
                                                                                                                                           COPYRIGHT ACT (17 U.S.C. § 1202)
                                                                                                                     Case 5:18-cv-06092-NC            Document 1        Filed 10/03/18      Page 6 of 6




                                                                                                             1                                          JURY TRIAL DEMAND

                                                                                                             2             Plaintiff izmo, Inc. hereby demands a jury trial on all issues so triable.

                                                                                                             3

                                                                                                             4 DATED: October 3, 2018                          COBLENTZ PATCH DUFFY & BASS LLP

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                                                                                                                                                               By:        /s/ Karen S. Frank
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                                                                                                             8                                                       Mark L. Hejinian
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                                                                                                                 12589.004 4837-2701-0931.3                            6
                                                                                                                  COMPLAINT FOR COPYRIGHT INFRINGEMENT AND VIOLATION OF THE DIGITAL MILLENNIUM
                                                                                                                                           COPYRIGHT ACT (17 U.S.C. § 1202)
